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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       No. 4:18CR00534 DPM
                                              )
BENNY DON TAYLOR                              )

                                    MOTION TO CONTINUE

         Taylor, through his attorneys, J. Blake Hendrix and Annie Depper of Fuqua Campbell,

P.A., moves this Court, pursuant to 18 U.S.C.§ 3161(h)(8)(B), to enter an order continuing his

trial.

         1.       Taylor is charged with one count of enticement in violation of 18 U.S.C.

§2422(b). The case is currently set for trial on November 26, 2018.

         2.       Title 18, United States Code, section 3161(h)(8)(B) controls the decision of

whether or not to grant a continuance. The factors the court may consider include 1) whether the

failure to grant a continuance would result in a miscarriage of justice; 2) whether the case

presents unusual or complex circumstances that it would be unreasonable to expect adequate

preparation in the time originally allotted; and, 3) in a case that is not unusual or complex,

whether the failure to grant a continuance would unreasonably deny the defendant continuity of

counsel or a reasonable time for effective preparation, taking into account the exercise of due

diligence.

         3.       A continuance is necessary so that the parties can engage in discovery and the

defense given a meaningful opportunity to prepare a defense.

         4.       I have contacted the Assistant United States Attorney assigned to this case who

has authorized me to state that she has no objection to this request.




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       5.       Taylor asserts that the public interest in a speedy trial, as well as his interest in a

speedy trial, are outweighed by Taylor’s need for adequate preparation time. He asserts that the

ends of justice will best be served by granting a continuance.

       WHEREFORE, the defendant, Benny Don Taylor, requests that the court grant a

continuance of his trial.

                                               Respectfully submitted by,


                                               /s/J. Blake Hendrix______________
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                                  CERTIFICATE OF SERVICE

I hereby certify that on November 13, 2018, I electronically filed the foregoing with the Clerk of
Court using CM/ECF system, which shall send notification of such filing to all counsel of record.


                                               /s/J. Blake Hendrix_______________
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